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O LAED 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  DistrictofofLouisiana
                                                                               __________

                   United States of America                            )
                              v.                                       )
                         Michael Baham                                 )   Case No: 03-355
                                                                       )   USM No: 23354-034
Date of Previous Judgment:                     03/16/2005              )   George Chaney
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ’ the defendant ’ the Director of the Bureau of Prisons ✔     ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ✔ DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
       ’
                    the last judgment issued) of months                    is reduced to                   .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29                Amended Offense Level:                                               27
Criminal History Category: III               Criminal History Category:                                           III
Previous Guideline Range:  120 to 135 months Amended Guideline Range:                                             120      to ---   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
’ The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
✔ Other (explain):
’
     The Defendant is ineligible for a reduction in sentence due to a statutory 120 month mandatory minimum
     sentence.



III. ADDITIONAL COMMENTS
     If this sentence is less than the amount of time the defendant has already served, then this sentence is reduced to
     a "time served" sentence.



Except as provided above, all provisions of the judgment dated                03/16/2005      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 04/21/2008
                                                                                                    Judge’s signature


Effective Date:             05/01/2008                                        Hon. Stanwood R. Duval, Jr., U.S. District Judge
                     (if different from order date)                                               Printed name and title
